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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW MEXICO

STC.UNM,

                Plaintiff,

      v.

INTEL CORPORATION,                         Civil No. 10-CV-01077-RB-WDS

              Defendant.


              STC.UNM’S NOTICE OF COMPLETION OF BRIEFING

   Pursuant to L.R. 7.4(e), STC.UNM provides notice of the completion of briefing

for its STC.UNM’s Rule 19 Motion to Correct Standing and Request for

Reconsideration and certifies the motion is ready for decision. The following

represents the related filings:

    STC.UNM’s Motion                   Doc. 218 – June 13, 2012
    Sandia Corporation’s Response      Doc. 224 – July 3, 2012
    Intel’s Response                   Doc. 226 – July 10, 2012
    STC.UNM’s Reply                    Doc. 235 – August 3, 2012
    STC.UNM’s Reply – Exhibit A        Doc. 236 – August 7, 2012




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Dated: August 9, 2012                       Respectfully submitted,

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Certificate of Service: I hereby certify that on August 9, 2012, I caused the foregoing
to be electronically filed with the Clerk of the Court using the CM/ECF system
which will send notification of such filing via electronic mail to all counsel of record.

                                                 /s/ Keith A. Vogt
                                                 Keith A. Vogt
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